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6                            UNITED STATES DISTRICT COURT
7                           CENTRAL DISTRICT OF CALIFORNIA
8     JENNY LISETTE FLORES, et al.,           Case No. CV 85-4544-DMG (AGRx)
9                    Plaintiffs,              ORDER APPROVING
10       v.                                   SETTLEMENT AGREEMENT AND
                                              DISMISSING WITH PREJUDICE
11    MERRICK GARLAND, Attorney               PLAINTIFFS’ MOTION FOR
      General, et al.,
12                                            ATTORNEYS’ FEES AND COSTS
                                              [1313] [1182]
13                   Defendants.
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              THIS CAUSE comes before the Court upon the filing of Plaintiffs’ Notice of
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     Non-Receipt of Class Member Objections and Unopposed Motion for Final
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     Approval of the Settlement Agreement [Doc. # 1313].
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              UPON CONSIDERATION of the parties’ Joint Stipulation To Dismiss EAJA
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     Motion With Prejudice and Proposal Regarding Notice to Flores Class Members Of
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     Settlement (the “Settlement Agreement”) [Doc. # 1292] and Plaintiffs’ Motion for
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     Final Approval of the Settlement Agreement, the Court finds that:
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              The parties engaged in non-collusive, arm’s-length negotiations to resolve
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     Plaintiffs’ Motion for Attorneys’ Fees (“MAF”) [Doc. # 1182];
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              The proposed Settlement Agreement requires Defendants to pay Plaintiffs
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     $540,210.40 in settlement of Plaintiff’s claims and any potential claims for
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     attorneys’ fees, litigation costs, and related expenses pursuant to the MAF, and the
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     MAF supports an award of this size;

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1          There is no evidence of collusion between the parties regarding fees, or of
2    Plaintiffs putting their interests in obtaining fees ahead of the interests of the Class;
3          The Notice of the proposed Settlement Agreement provided to the Class
4    satisfied the requirements of Federal Rule of Civil Procedure 23(e)(1) and due
5    process; and
6          Counsel have received no objections from Class Members or their family
7    members concerning the proposed Settlement Agreement [Doc. # 1322 at ¶¶ 6, 7].
8          For all these reasons, the Court finds that the Settlement Agreement is fair,
9    adequate, and reasonable, and APPROVES the Settlement Agreement. Plaintiffs’
10   Motion for Final Approval is GRANTED. The Court further ORDERS that
11   Plaintiffs’ Motion for Award of Attorneys’ Fees and Costs [Doc. # 1182], is
12   DENIED WITH PREJUDICE as moot pursuant to the Stipulation of the Parties.
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     IT IS SO ORDERED.
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17   DATED: January 25, 2023                  ____________________________
18                                            DOLLY M. GEE
                                              UNITED STATES DISTRICT JUDGE
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